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                          UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF PENNSYLVANIA


KATHLEEN KILROY, on behalf of herself and all
others similarly situated,

                              Plaintiff,
                                                              Case No. 2:18-cv-01557-NIQA
              - against -

CIGNA CORPORATION; CONNECTICUT
GENERAL LIFE INSURANCE COMPANY;
CIGNA HEAL TH AND LIFE INSURANCE
COMPANY; AMERICAN SPECIALTY HEALTH
IN CORPORA TED; and AMERICAN SPECIALTY
HEALTH GROUP, INC.,

                             Defendants.


                                             ORDER

                                             of~
                                   ~
       AND NOW, this        ;(I/       day                      , 2018, it is hereby ORDERED

and DECREED that the Cigna Defendants' Motion for Leave to File under Seal Exhibit 2 to

Cigna Defendants' Motion to Dismiss is GRANTED. IT IS FURTHER ORDERED THAT said

exhibit may be filed under seal, to be unsealed only upon Order of this Court, only by persons

designated by the Court, and in a manner prescribed by the Court.

                                                     BY THE COURT:
                                                     Isl Nitza I. Quinones Alejandro

                                                        Nitza I. Quifiones-Alejandro
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